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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION                        §
OF AMERICA,                                       §
             Plaintiff,                           §
                                                  §
v.                                                §          Civil No. 3:19-CV-2074-G-BK
                                                  §
                                                  §
ACKERMAN MCQUEEN, INC, et al.,                    §
           Defendants.                            §

                  STANDING ORDER ON ALL DISCOVERY MATTERS

       On February 27, 2020, all discovery matters in this case for were referred to the

undersigned magistrate judge for determination [Doc. 60]. Going forward, the following order

governs the filing and disposition of all discovery-related motions.

       1. Informal Resolution of Discovery Disputes. The Court encourages the informal

resolution of all contested discovery matters. To this end, the parties are welcome to schedule a

telephone conference with the magistrate judge when they have a legitimate disagreement over a

non-substantive discovery issue that can be resolved in a summary fashion. This is not an

invitation to engage in ex parte communications or obtain advisory rulings from the Court.

Rather, it is an attempt to resolve relatively simple and straightforward disputes in an efficient

and cost-effective manner. Some examples are: (a) problems that arise during depositions, such

as the refusal of a witness to answer questions or excessive objections by counsel; (b)

disagreements over the interpretation or effect of prior Court orders related to discovery issues;

(c) the extension of pretrial deadlines regarding discovery matters; and (d) rare emergency

situations that require immediate judicial intervention. If the parties wish to schedule a
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telephonic conference with Judge Toliver to resolve such matters, they may contact Courtroom

Deputy Mervin Wright at 214-753-2169 to set up an appointment.

       2. Pre-Motion Conference. No party may file a non-dispositive motion unless all

parties first confer by telephone or meet face-to-face in an attempt to resolve the matters in

dispute. See N.D. TEX. LOCAL RULE 7.1(a). If a conference is requested in connection with a

dispute involving written discovery, the parties should focus their discussions on the substantive

information and documents made the basis of the written discovery request. In other words,

unless there is a specific objection, a party served with written discovery requests should fully

answer each interrogatory or produce all responsive documents. In the event of a specific

objection, the party should affirmatively indicate whether any responsive information or

documents have been withheld pursuant to such objection. A discovery response that

information is being provided “subject to” objection is disfavored and discouraged, as it tends to

cause confusion.

       A privilege log must be produced for any materials withheld from production on the

grounds of attorney-client, work-product, or other privilege. See FED. R. CIV. P. 26(b)(5).

Moreover, In accordance with FED. R. EVID. 502(d), any attorney-client privilege or work-

product protection will not be waived by disclosure in connection with this case. And, pursuant

to FED. R. CIV. P. 26(b)(5)(B), if information produced in discovery is subject to a claim of

privilege or of protection as trial-preparation material, the party making the claim may notify any

party that received the information of the claim and the basis for it. After being notified, a party

must promptly return, sequester, or destroy the specified information and any copies it has; must

not use or disclose the information until the claim is resolved; must take reasonable steps to

retrieve the information if the party disclosed it before being notified; and may promptly present
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the information to the court under seal for a determination of the claim. The producing party

must preserve the information until the claim is resolved. Any party that who fails to comply

with these guidelines or participate in a conference upon request will be subject to sanctions.

        3. Joint Status Report. A joint status report must be attached to any contested discovery

motion. This report must contain: (a) the names of all attorneys and/or pro se parties who

participated in the pre-motion conference; (b) the date the conference was held and the amount

of time the parties conferred; (c) the matters that were resolved by agreement; (d) the specific

matters that need to be heard and determined; and (e) a detailed explanation of why agreement

could not be reached as to those matters. The joint status report must be signed by all

participating parties.

        The purpose of the joint status report is to enable the Court to determine the respective

positions of each party in a single written submission. To this end, the parties should present all

of their arguments and authorities in the body of the report. Supporting evidence and affidavits

must be submitted in a separate appendix. The arguments, authorities, and evidence relied on by

a party must be provided to opposing counsel before the attorneys finalize and sign the joint

status report. The court, in its discretion, may allow further briefing upon request by any party.

Local Civil Rule 7.1(d), which governs the filing of briefs for opposed motions, does not apply.

        4. Filing and Service of Motions. All discovery-related motions must be filed

electronically in accordance with Miscellaneous Order 61, the CM/ECF Civil and Administrative

Procedures Manual, and the CM/ECF User Guide.

        5. Responsive Pleadings. The Court will rule on most motions on an expedited basis

without a formal response based on the arguments and evidence presented in the joint status

report and appendix. In some cases, the Court may allow or direct the parties to file a response
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and reply. Typically, responsive pleadings will be allowed only if the motion involves discrete

legal issues necessitating further briefing or is dependent on evidence outside the record. In the

event that the Court permits a written response and reply, a briefing schedule will be established

by separate order. Further, the Court, in its discretion or upon the request of any party, may

schedule oral argument prior to ruling on the motion.

       6. Hearing. Most pretrial motions will be decided on the written submissions. However,

if upon review the Court determines that oral argument and/or an evidentiary hearing is

necessary or would be helpful to the Court, the parties will be notified. In accordance with the

informal policy promoted by Chief Judge Barbara M.G. Lynn, the Court strongly encourages

litigants to be mindful of opportunities for young lawyers (i.e., lawyers practicing for less than

seven years) to conduct hearings or argue before the Court, particularly in those instances where

the young lawyers drafted or contributed significantly to the underlying motion or response.

       7. Questions. Any questions concerning the requirements of this order or the status of

any motion may be directed to Mervin Wright, Courtroom Deputy to Judge Toliver, at (214)

753-2169. Questions concerning electronic filing procedures should be directed to the ECF Help

Desk at (866) 243-2866.

       SO ORDERED on March 10, 2020.
